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 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
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 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     OSCAR GOMEZ GORIBALDO
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 11-354-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: February 28, 2012
     EVARISTO ARREOLA-VENTURA, et )      TIME: 9:15 a.m.
15   al.,                         )      JUDGE: Hon. Lawrence K. Karlton
                                  )
16                Defendants.
     __________________________
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant,
20   OSCAR GOMEZ GORIBALDO by and through his counsel, BENJAMIN GALLOWAY,
21   Assistant Federal Defender and defendant, EVARISTO ARREOLA-VENTURA, by
22   and through his attorney, OLAF HEDBERG that the status conference set
23   for Tuesday, December 20, 2011, be continued to Tuesday, February 28,
24   2012, at 9:15 a.m., for status conference.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
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 1   stipulation, December 13, 2011, through and including the date of the
 2   new status conference, February 28, 2012, shall be excluded from
 3   computation of time within which the trial of this matter must be
 4   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
 5   (h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
 6   prepare].
 7   DATED: December 13, 2011             Respectfully submitted,
 8                                        DANIEL J. BRODERICK
                                          Federal Defender
 9
                                          /s/ Benjamin Galloway
10                                        BENJAMIN GALLOWAY
                                          Assistant Federal Defender
11                                        Attorney for Defendant
                                          OSCAR GOMEZ GORIBALDO
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13
                                          /s/ Benjamin Galloway for
14                                        OLAF HEDBERG attorney for
                                          EVARISTO ARREOLA-VENTURA
15
16   DATED: December 13, 2011             BENJAMIN GALLOWAY
                                          United States Attorney
17
                                          /s/ Benjamin Galloway for
18                                        TODD LERAS
                                          Assistant U.S. Attorney
19                                        Attorney for Plaintiff
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21
                                    O R D E R
22
        Based on the stipulation of the parties and good cause appearing
23
     therefrom, the Court hereby adopts the stipulation of the parties in
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     its entirety as its order.     It is hereby ordered that the presently set
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     December 20, 2011, status conference shall be continued to February 28,
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     2012, at 9:15 a.m..   It is further ordered that the time period from
27
     the date of the parties' stipulation, December 13, 2011, through and
28
     including the date of the new status conference hearing, February 28,

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 1   2012, shall be excluded from computation of time within which the trial
 2   of this matter must be commenced under the Speedy Trial Act, pursuant
 3   to 18 U.S.C. § 3161 (h)(7)(B)(iv) and Local Code T4 [reasonable time
 4   for defense counsel to prepare].
 5      Based on the stipulation of the parties and good cause appearing
 6   therefrom, the Court hereby finds that the failure to grant a
 7   continuance in this case would deny defense counsel reasonable time for
 8   effective preparation taking into account the exercise of due
 9   diligence.   The Court specifically finds that the ends of justice
10   served by the granting of such continuance outweigh the interests of
11   the public and the defendant in a speedy trial.
12      IT IS SO ORDERED.
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     DATED: December 15, 2011
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